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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS                         FILE O
UNITED STATES OF AMERICA,                                                         OCT 08 2019
                                                                              "~y "!·~IHI"' ERK
                        Plaintiff,                                            ~PUty
       vs.
                                                     Case No.: 19-mj-08237-JPO
HUGO A.VILLANUEVA-MORALES,
a/k/a Javier Alberto Rodriguez
a/k/a "Smokey"                                               FILED UNDER SEAL



                        Defendant.



                                     CRIMINAL COMPLAINT

       I, Timothy Flobrschutz, a Special Agent (SA) with the Federal Bureau of Investigation

(FBI), the undersigned complainant being duly sworn, state the following is true and correct to

the best of my knowledge and belief.


                                            COUNT I

       Beginning on or about October 6, 2019, in the District of Kansas, the defendant,

                             HUGO A.VILLANUEVA-MORALES,

traveled in interstate commerce and crossed state lines with intent to avoid prosecution for the

crime of pt Degree Murder (4 counts), each of which are felonies under the laws of the State of

Kansas.

       This was all in violation of Title 18, United States Code, Section 1073, UnlawfulFlight

to Avoid Prosecution.
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                                      AFFIDAVIT

1) COJ\llES NOW, Special Agent Timothy Flohrschutz of the Federal Bureau of
   Investigation, being of lawful age and first duly sworn upon my oath, do depose and state
   as follows:


2) I am currently assigned to the Violent CrimesNiolent Gang Squad within the Kansas
   City Division of the Federal Bureau of Investigation as the Kansas City Division Violent
   Crimes Fugitive Task Force Coordinator. I was previously assigned to the Violent
   Crimes Squad and Joint Terrorism Task Force within the Kansas City Division of the
   FBI. I have been a Special Agent with the FBI since February 22, 2015. Prior to joining
   the FBI, I was employed as a police officer and detective with the Bellevue, Nebraska,
   Police Department from October of2006 to February of 2015. From 2011to2015, I was
   assigned as a full-time Task Force Officer to the United States Marshals Service Omaha
   Metro Fugitive Task Force in the District of Nebraska. In addition to my own
   investigation, this affidavit also includes information furnished to me from detectives and
   officers of the Kansas City, Kansas Police Department, Kansas City, Missouri Police
   Department, and other law enforcement officials. This affidavit is not meant to be all
   inclusive, it merely identifies the relevant facts pertaining to the accompanying criminal
   complaint.


                   Overview of the Investigation and this Affidavit


3) Presently, I am working on an investigation originating in the District of Kansas
   regarding violations of federal law which include Unlawful Flight to A void Prosecution,
   in violation of Title 18, United States Code, Section 1073.


4) In summary, this affidavit will describe the relevant portion ofthis investigation by
    several law enforcement agencies, including the Kansas City, Kansas Police Department
    (KCKPD), the Kansas City, Missouri Police Department (KCMOPD) and the Federal
   Bureau of Investigation (FBI), in addition to other local, state, and federal agencies into a
   mass shooting which occurred in Kansas City, Kansas on October 6, 2019, resulting in

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   four deaths and five additional victims with gunshot wounds. Based upon an
   investigation by the KCKPD, the subjects of the shooting were quickly identified as
   Javier A. Alatorre, a Hispanic male, date of birth November 28, 1995, and Hugo Alberto
   VILLANUEVA-MORALES, a Hispanic male, date of birth October 25, 1989.


5) As detailed below, this affidavit will describe how VILLANUEVA-MORALES traveled
   in interstate commerce and crossed states lines with intent to avoid arrest and prosecution
   for four counts of 1st Degree Murder, K.S.A. 21-5401, felony violations of the laws of the
   State of Kansas.


6) VILLANUEVA-MORALES is currently at large.


                               Narrative of Investigation


7) On October 6, 2019, at approximately 1:24 a.m., the KCKPD was dispatched to a
   shooting at the Tequila KC Bar located at 1013 Central A venue, Wyandotte County,
   Kansas City, Kansas, all located within the District of Kansas. Upon arrival, responding
   officers located nine victims, four of whom were deceased as a result of gunshot wounds.
   Based upon the investigation conducted by the KCKPD, the subjects involved in the
   shooting were identified as Javier A. Alatorre, a Hispanic male, date of birth November
   28, 1995, and Hugo Alberto VILLANUEVA-MORALES, a Hispanic male, date of
   birth October 25, 1989.


8) Following the identification of the subjects by KCKPD, the assistance of the FBI was
   requested to exploit social media accounts related to both subjects in an effort to locate
   them and effect a probable cause arrest for murder. Exigent requests for emergency
   disclosure were submitted to Facebook and Charter Communications which ultimately
   led to the arrest of Alatorre on the same date at approximately 4:00 p.m. in Kansas City,
   Missouri. The exigency was based upon multiple factors to include a fear that Alatorre
   and VILLANUEVA-MORALES would retaliate against witnesses whom they were
   familiar with and the safety of the public following a mass shooting event.


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9) A review the Facebook records produced on October 6, 2019, at 1:54 p.m., in association
   with the account identified by Facebook User ID 100040467966870 showed the account
   was listed in the name of Hugo VILLANUEVA with a vanity name of
   hugo.villanueva.58173. The account was created on August 8, 2019. At the time of
   creation, the user provided a cellular telephone number of (913) 351-7498 which was
   verified by Facebook. In other words, Facebook sent a code to the user via text message
   at the listed number which they were required to enter into the Facebook application or
   website to confirm the user possessed that number. Internet Protocol (IP) logs for the
   account showed it was last accessed on October 6, 2019, at 5:45 a.m. from IP address
   107.77.173.4.



10) A query of IP address 107.77.173.4 through the American Registry for Internet Numbers
   showed the IP address to be associated with AT&T Mobility. This is known to be a
   common indication that the IP activity is associated with a wireless device operating on
   the AT&T cellular network. Research conducted on telephone number (913) 351-7498
   showed it to be a wireless telephone number assigned to AT&T.



11) The KCMOPD Communications Center requested E911 location data for the device
   associated with (913) 351-7498. AT&T advised thatthe cellular device was powered off
   or outside the service area. AT&T provided the last known location of the device which
   was at 38.4149956, -94.5830526 at approximately 12:49 p.m. CDT. The listed
   coordinates plotted north of Merwin, Missouri, but would likely cover Highway 69 in the
   area of Linn Valley, Kansas.



12) The device remained powered off or outside the service area until the KCMOPD
   Communications Center received additional location information for the cellular device
   at approximately 8:40 p.m. CDT at 33.1639713, -97.1042726 which plotted in the area of
   Denton, Texas, along the I-35 corridor. No additional location data was obtained through
   the E911 request.


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13) Witness statements obtained by the KCKPD and other investigating agencies revealed
   that VILLANUEVA-MORALES was likely to flee the Kansas City metropolitan area
   by bus. More specifically, it was said he was going to flee to Mexico.



14) A review of bus routes originating from Kansas City revealed a Greyhound bus route
   from Kansas City, Missouri, to Dallas, Texas. On October 6, 2019, Route 7321 departed
   from Kansas City, Missouri, at approximately 8:05 a.m. It was scheduled to arrive in
   Dallas, Texas, at 8:40 p.m., but arrived in Dallas approximately one hour late. FBI
   Kansas City requested that the Dallas Police Department intercept the bus to watch for
   VILLANUEVA-MORALES, but they missed the bus by approximately fifteen minutes.



15) Based upon the bus route and time delay, the information provided by Greyhound
   appears to be consistent with the timing and locations for the cellular device associated
   with VILLANUEVA-MORALES.



16) On October 6, 2019, at approximately 11:30 p.m., the KCKPD obtained a Wyandotte
   County, Kansas arrest warrant for VILLANUEVA-MORALES, charging four counts of
   1st Degree   Murder. Following is an excerpt from the KCKPD affidavit submitted in
   support of the application for said arrest warrant:


          a) On 10-06-2019, at 0124hrs, Kansas City Kansas Police officers responded to Tequila
             KC Bar, 1013 Central Ave in Wyandotte County, Kansas City, Kansas on a reported
             shooting. Upon arrival, officers entered the business and located several gunshot
             victims inside of the business. EMS personnel responded to the scene to render first
             aid to the victims. Four of the victims were pronounced deceased at the scene and five
             other victims were transported to metro area hospitals with gunshot injuries.
             Detectives Bundy and Sutton with the Kansas City Kansas Police Department
             responded to the scene. Detectives were notified by the owner of the business that
             there were several surveillance cameras inside of the business. Detectives reviewed
             the surveillance video which captured footage of the incident. The footage shows that
             just prior to the shooting, the suspects, two Hispanic males entered the back door of
             the business and walked through the crowd of patrons towards the front door. It was
             apparent when reviewing the video that the suspects were attempting to locate someone


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      inside of the bar. As they approached the front area of the bar, one of the suspects pulls
      out a firearm and begins shooting patrons in the front of the business. At that point,
      the second suspect pulls out a firearm and begins shooting patrons as well. After firing
      multiple shots, both suspects begin running towards the back door while firing shots
      into the crowd behind them. The suspects are seen exiting the back door of the business
      and running southbound. KCKPD CSI responded to the scene for processing. Several
      items of evidence were recovered including bloody clothing and 9MM shell casings.
      The deceased victims were identified as Ebar Abdiel Meza-Aguirre (HIM 01-25-1990),
      Martin Rodriguez-Gonzalez (HIM 10-14-1961 ), Francisco Anaya-Garcia (HIM 05-07-
      1985), and Alfredo Calderon (HIM 06-03-1990).


   b) The video was high quality and still images were captured of the suspects. A witness
      who was inside of the bar during the shooting was located on 10-06-2019. At 1135hrs,
      TFO Blackman, TFO Dundovich and FBI SA Keyon conducted an interview with that
      witness, Rubi Ramirez (H/F 03-22-1991). Ramirez said that on the night of the
      incident she showed up to the bar around 23 00 to 2400 hours. She thought she was
      there about 40 minutes prior to the shooting. Ramirez said she was wearing a poncho
      at the bar. Ramirez went on to say she bought a bucket of Modelo's beer and was
      hanging out with her family at the bar. She remembered seeing Javier walk into the
      bar with "Smokey." She has known Javier for years and they used to date the same girl
      named Victoria. When she saw Javier and Smokey she said hello to both of them. There
      wa:s brief conversation about not seeing each other for a long time. She said something
      about, "long time no see." Approximately five seconds later, she saw both Javier and
      "Smokey" both shooting guns. She thought Javier's handgun was a black pistol similar
      to a semi-auto pistol. She was less sure about "Smokey's" firearm, but thought it may
      have been black. After the shooting, she eventually left the bar and went home.
      Ramirez said she has known Javier for years, and his name is Javier Alatorre. She said
      that Javier is a Florence gang member with Locoto set. She didn't think he was really
      in the gang, but runs with them. Ramirez said Hugo was an NHD member. Both NHD
      and Locoto Set or (LS) are known sets ofF-13. Ramirez said Alatorre tried to add her
      on Facebook under his Facebook profile, "Alejandro Lambardo," but she never
      accepted him. Ramirez said Alatorre used to go to her house all the time when they
      were younger, but hasn't seen him for a couple of years. She only knows "Smokey"
      as Hugo, but doesn't know his last name. She only met "Smokey" once two years ago
      at a friend's house. It was a cook-out when they met, but she hasn't seen him since,
      but talked to him before and has seen him on Facebook. Ramirez also said she
      immediately recognized him as "Smokey" when he walked into the bar. TFO
      Blackman showed Ramirez a photo line-up that included Alatorre and she identified
      Alatorre out of the photo line-up as one of the two shooters. Ramirez stated that she
      was 100% sure it was him. TFO Blackman showed Ramirez a photo line-up including
      Hugo Villanueva and five other individuals that are similar in appearance. Ramirez
       identified Villanueva out of the photo line-up as the person she referred to as "Smokey"
      who was one of the two shooters. Ramirez stated that she was 100% sure it was him.


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           c) Detective Bundy discovered that Villanueva and Alatorre have both been arrested in
              Wyandotte County. Previous booking photos were accessed and compared to the
              suspects on the shooting video and it was confirmed that they were the suspects.


           d) TFO Blackman was able to contact a Kansas Parole officer who confirmed Javier
                                                                                                        I
              Alatorre was on parole and had an address on file with parole as 2639 Quincy St in        !


              Kansas City, Missouri.


           e) On 10-06-19 at approximately 1543hrs, members of the FBI Fugitive Apprehension
              Unit and members of the Kansas City Career Criminal Squad surrounded the residence
              at 2639 Quincy St. The tactical team made contact with the residents inside via a loud
              speaker. Javier Alatorre exited the front door of the residence and was taken into
              custody without incident. A search warrant was obtained for the residence. During a
              search of the residence, officers located the LA Dodgers jersey that Alatorre was
              wearing on video during the shooting. Officers also located a 9mm handgun which is
              the same caliber as the casings recovered from the scene.


           f)   A search warrant was obtained for the location history and PING locations for
                Villanueva's phone. At 2 l30hrs, Villanueva's phone was located in Dallas, Texas near
                a Greyhound bus station.


           g) Wherefore, the undersigned requests that a warrant be issued for the arrest of said,
              Javier A. Alatorre (HIM 11-28-1995) and Hugo A. Villanueva (HIM 10-25-1989),
              as provided by law.


17) Based upon the foregoing facts and circumstances, I believe there is probable cause that
   the defendant, Hugo Alberto VILLANUEVA-MORALES, has traveled in interstate
   commerce and fled the State of Missouri in an attempt to avoid arrest and prosecution for
   the crime of 1st Degree Murder (4 counts), which is a felony violation of law in the State
   of Kansas, in violation of Title 18, United States Code, Section 1073.


18) Because this affidavit is being submitted for a person whom has fled from prosecution, I
   request that this Complaint, any arrest warrant, and other documents associated with this
   Complaint remain under seal until VILLANUEVA-MORALES' arrest or until further
   order of the court.



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FURTHER AFFIANT SAYETH NAUGHT,




                                                   Special Agent
                                                   Federal Bureau of Investigation


Subscribed and sworn to before me this 8th day of October, 2019.




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                                      PENALTIES

Count 1:     18 u.s.c. § 1073
             Unlawful Flight to Avoid Prosecution

      •      NMT 5 years Imprisonment;
      •      NMT $250,000 fine;
      •      NMT 3 years supervised release; and,
      •      $100 Special Assessment Fee .




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